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 1                                                         THE HONORABLE ROBERT S. LASNIK

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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE

10 PREMERA,
                                                       Case No. 2:17-cv-00714-RSL
11                 Plaintiff,

12          vs.

13 LEXINGTON INSURANCE COMPANY;                        STIPULATION FOR DISMISSAL OF
   BCS INSURANCE COMPANY (“BCS”);                      DEFENDANTS RLI INSURANCE
14 HOMELAND INSURANCE COMPANY OF                       COMPANY, TRAVELERS CASUALTY
   NEW YORK; IRONSHORE SPECIALTY                       AND SURETY COMPANY OF
15 INSURANCE COMPANY; RLI INSURANCE                    AMERICA, AND IRONSHORE
   COMPANY; TRAVELERS CASUALTY                         SPECIALTY INSURANCE COMPANY
16 AND SURETY COMPANY OF AMERICA;
   AND RSUI INDEMNITY COMPANY
17
              Defendants.
18

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20          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Premera Blue Cross

21 (“Premera”) and Defendants RLI Insurance Company (“RLI”), Travelers Casualty and Surety

22 Company of America (“Travelers”), and Ironshore Specialty Insurance Company (“Ironshore”), by

23 and through their respective attorneys, hereby dismiss with prejudice all claims or counterclaims

24 asserted by (a) Premera against RLI, Travelers, and Ironshore, and (b) RLI, Travelers, and Ironshore

25 against Premera. Premera, RLI, Travelers and Ironshore shall bear their own fees and costs in

26 connection with the dismissed claims and counterclaims.


       STIPULATION FOR DISMISSAL                                 KILPATRICK TOWNSEND & STOCKTON LLP
       OF CERTAIN DEFENDANTS – 1                                        1420 5th Ave., Suite 3700
       Case No. 2:17-cv-00714-RSL                                          Seattle, WA 98101
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 1          All remaining parties to this action, by and through their respective attorneys, hereby

 2 stipulate to the dismissal of these claims and counterclaims, after which RLI, Travelers, and

 3 Ironshore will no longer be parties to this case. This stipulation does not apply to any claims or

 4 counterclaims between Premera and any other remaining party in this litigation and is without

 5 prejudice to (a) any rights the remaining defendants have as to potential future claims against the

 6 dismissed parties; and (b) any rights the dismissed parties have as to potential future claims against

 7 the remaining defendants.

 8          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 9 DATED: December 9, 2021.

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 1        Based on the above Stipulation, IT IS SO ORDERED.

 2        Dated this 10th day of December, 2021.
 3

 4                                            Robert S. Lasnik
 5                                            United States District Judge

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